              Case 1:12-tp-20032-JEM Document 1 Entered on FLSD Docket 04/10/2012 Page 1 of 18

          PROB22                                                                                                 DOCKETNUMBER X'  ran Court)
          (Rev.2/88)                                                                                             (j9.jjjj.()jtAPR
                                                                                                                              jqM w10,
                                                                                                                                    l 2012
                                       TRANSFER OF JURISDICTIO N
                                                                                                                 DOCKETNUMBER (Rec.Court
                                                                                                                                       )
                                         12-20032-TP-MARTINEZ/MCALILEY
          NAME AND ADDRESS OF PROBATIONER/SUPERVISED RELEASEE:                 DISTRICT                          DIVISION

          SalvadorVillanueva                                                   SOUTHERN DISTRICT OF              Probation
                                                                               N EW YO RK
                                                                               NAME oy sExTExclxG JUDGE

                                                                               Honorable KimbaM .W ood,SeniorU .S.DistrictJudge
                                                                               DATESOFPROBATION/SUPERVISED       FROM          TO
                                                                               RELEASE:                          November      N ovember
                                                                                                                 8,2011        7,2014

          OFFENSE

          DistributionandPossessionwithlntenttoDistributeHashish (2lU.S.C.212,841(a)(l)and (b)(1)Q)and l8U.S.C.2),
          a ClassC Felony.

          PART 1-ORDER TRANSFERRING JURISDICTION

          UNITEDSTATESDISTRICTCOURTFORTHE ''SOUTHERN DISTRICT OF NEW YORK''
                       IT IS HEREBY ORDERED thatpursuantto l8U.S.C.3605 thejurisdiction ofthe probationerorsupervised
          releasee named above be transferred with the recordsofthe Courtto the U nited StatesD istrictCourtforthe Southern
           DistrictofFloridauponthatCourt'sorderofacceptanceofjurisdiction.ThisCourtherebyexpressly consentsthatthe
           period ofprobation or supervised release may be changed by the D istrictCourtto which thistransferism ade without
           furtherinquiry ofthisCourt.*




                       V, 3- tw                                                       /        -                     -
                    Date                                                             UnitedStatesDistrictJudge

           #'
            l-hissentencemay be deleted in thediscretion ofthetransferringCourt.
           PART 2-O RD ER ACCEPTIN G JUR ISDICTION

           UNITFD STATESDISTRICTcoult'
                                     rF()RTHESOUTHERN DISTRICT OF FLORIDA
                   IT IS HEREBY ORDERED thatjurisdictionovertheabove-namedprobationer/supervisedreleaseebeaccepted
           andassumed by thisCourtfrom and afterthe entry ofthisorder.




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                                                                                               W           ' '
                       EffectiveDate                                                 UnitedStatesDistrl'
                                                                                                       ctJudge




1 of 18
              Case 1:12-tp-20032-JEM Document 1 Entered on FLSD Docket 04/10/2012 Page 2 of 18
                          Case 1:09-cr-O111I-KM W Doc    '. ,.
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                 UNITED STATES DISTRICT COURT                             ; ,6 .                                                                 ,
                 SOUTHERN DISTRICT OF NEW YORK                                .
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                SALVA DOR V ILLAN UEVA ,

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                                                   X

                                                 COUNT ONE

                           The Grand Jury charges:

                           1.    On or about November 2/ 2009, in the Southern
                District of NeW York and elsewhere , SALVADOR VILLANUEVA , the

                defendant , unlawfully , intentionally and knowingly , did
                distribute and possess with intent to distribute a controlled
                substance, to wit, 10 kilograms and more of a mixture and

                substance containing a detectable about of marijuana, in a form
                commonly referred to as ''hashish,'' a tetrahydrocannabinols, in
                violation of Title 2l, United States Code , Sections 812,

                841(a)(1) and 84l (b) (l)(C).
                   (Title 21, United States Code, Sections 812, 841(a)(1), and
                     84l(b)(1) (C); Title 18, United States Code, Section 2.)
                                           FORFEITURE ALLEGATION

                                As a result of committing the controlled substance

                offense alleged in Count One of this Indictment, SALVADOR
                VILLANUEVA , the defendant, shall forfeit to the United States

                pursuant to 21 U .S .C . 5 853, any and all property constituting or
                derived from any proceeda the aaid defendant obtained directly or

                indirectly as a result of the said violation and any and all




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          Case 1:12-tp-20032-JEM Document 1 Entered on FLSD Docket 04/10/2012 Page 3 of 18
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                        Case 1:09-cr-011II-KMW   Document7 Filed 11/17/09 Page 2 of3


            property used or intended to be used in any manner or part to
            commit and to facilitate the commission of the violation alleged
            in Count One of this Indictment.

                                       any of the above-described forfeitable
            property , as a result of any act or omission of the defendant :

                                  a.     cannot be located upon the exercise of due
            diligence;

                                  b.    has been transferred or sold to, or deposited

            with, a third person ;

                                        has been placed beyond the jurisdiction of
            the Court;

                                        has been substantially diminished in value;

            Or

                                  e.    has been commingled with other property which

            cannot be subdivided without difficulty ; it is the intent of the
            United States, pursuant to 21 U.S.C. 5 853(p), to seek forfeiture
            of any other property of said defendant up to the value of the

            above forfeitable property .
            (Title 2l, United States Code, Sections 84l(a)(l), 846, and 853.)




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                                                        P   ET BNAPAP A
                                                        United States Attorney




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          Case 1:12-tp-20032-JEM Document 1 Entered on FLSD Docket 04/10/2012 Page 4 of 18
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                       Case 1:O9-cr-011II-KM W        Document7 Filed 11/17/09 Page 3 of3



                                         Form No . U5A-33s-274 (Ed. 9-25-58)


                                            UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF NEW YORK


                                             UNITED STATES OF AMERICA

                                                       -   V. -

                                               SALVM OR VILT'AG m VA ,

                                                    Defendant.


                                                    INDICTMENT

                                                 08 Cr .

                                           (2l U.S.C. 55 812, 841(a)(1),
                                         841(b)(l)(C), and 18 U .S.C. 5 2.)



                                                                   PR EET BNAQAPA
                                                      United States Attorney .

                                                    A TRUE BILL


                                                                     Foreperson .



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4 of 18
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                Case 1:12-tp-20032-JEM Document 1 Entered on FLSD Docket 04/10/2012 Page 5 of 18
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                                     SOUTHERN                                                                                                    ONICALLY, ED
                                                          -           -           Districtof                                          W YORK
                        UNITED STATESOFAMERICA                                              AMENDED JUD y                                            ASR                           S
                                        V.
                                                                                                                    't
                            SALVADORVILLANUEVA                                              C3SCXumber:             !
                                                                                                                    . ; 09 CR 1111-01(KMW)
              DadeofOriginalJudgmcnt: November18.2010                     -
                                                                                            UsMNumber: t 9.508-054
                                                                                            SabrinaShroë Esq.1(A. .S.A.M ichelleParikh)
          (OrDatcpfLastAmendedJgdgment)                                                     f
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          C)c>.35(t,j)                                                                         Cornpellin:Ittasons(180 %.C.j35:2(0:1))
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              orrectionofscntcnccbysentencingC'
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                                                                                                                                   ''l 28U.S.C,j2255or
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                                                                                                                        lcr(I8U.S.
                                                                                                                                 C,j3664)
          THE DEFENDANT:
          X pleadedguiltytocountts) 1(one)        -                           -                 .                                                                  -

          E11 pleadednolocontenderetocountts)
              which wasaccepted by the court.
          (() wasfoundguiltyoncountts)                                                                                      -...

                 aheraplea ofnotguilty.
          Thedefendantisadjudicatedguiltyoftheseoffenses:
          Titlc.&
                - Scction-                 Natu.reofOffvnse                                                                  OffenseEnded-                             Count
          21USC 812,841(a)(l)&             DistributionandPossessionwithlntenttoDistributeHashish                           l1/2/2009                                    l
           (b)(l)(C)and 18USC 2


           Thedefendantissentenced asprovided in pages2 through                        6-             ofthisjudgment.Thesentenceisimposedpursuantto
          theSentencing Reform Actof 1934.
                Tbedcfendanthasbeenfcundnotguilty oncx ntts)
                Countts)                                EEJis I
                                                              E1aredismissedonthemotionoftheUnitedStates.
                        ItisorderedthatthedefendantmustnotifvtheUnitedStatesAtlornev forthisdistrïctwithin 30 davsofanvchangeofnam e,residence
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                                                                                            November 18,2010                                               .           -       -       .

                                                                                            DateofImpositionofJudgment

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                                                                                            Signatureofludge
                                                                                            KIM BA M .W OOD,U.S.D.J.
                                                                                            Nameand TitleofJudge
                                                                                               It- It - 11
                                                                                            Date




              AO 245C      fRev.06/05)AmtndedJudgmenti
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          Case 1:12-tp-20032-JEM Document 1 Entered on FLSD Docket 04/10/2012 Page 6 of 18
                             Case 1:09-cr-01III-KMW Document41 Filed 12/17/10 Paqe2of6
           DEFENDANT:            SALVADOR VILLANUEVA                                                 Judgment Page       2    of         6
           CASENUMBER: 09CR ll11-01(KM W)
                                                                                                 )
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                                                               IMPRISONMENT                      j
               Thedefendantisherebycolnmittedtothe custody oftheUnited StatesBtlreau ofPrisonsto be im prisoned fora
          totaltenm    o
          ()f:::         RCY'   ndoneday imprisonment.
                            Z3T3,




          X Thecotlrtmakesthefollowing recommendationstotheBureauofprisons:
               Th
                shehi
               vi  Cour
                    m , trecolnmendstotheBureauofPrisonsthatthedcfkndantbe incarccrated atFClM iami, so thathisfamilymay



               Thedcfendantisremandcdtothe custody oftheUnited StatesM arshal.
              Thcdefcndantshallsurrcndcrto theUnited StatesM arshalforthisdistrict:
                       a                         C) a.m . EE)                  on                                    .

              (Z1      asnotifiedbytheUnitedStatesMarshal.
          X ThedefendantshallsurrenderforserviceofsentenceattheinstitutiondesignatedbytheBureauofPrisons:
              X        before    noononFebruafy21,20ll#                 .
              I
              Z        asnotificdbytheUnitedStatesMarshal.
              IZ       asnotifiedbytheProbalionorPretrialServiccsOftice.


                                                                     RETU RN
          1haveexeclztedthisjudgmentasfollows:




              Defendantdelivered on                     -        -                  to      -                 -               -     --   .



          a                                             withacertiûedcopyofthisjudgment,


                                                                                                UNITED STATE'S MARSHAL

                                                                        By
                                                                                         DEPUTY VJNITED STATES M ARSHAI.




          AO 2450   (Rcv.û6/05)AmcndcdJudgmcntinaCrimi
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          Case 1:12-tp-20032-JEM Document 1 Entered on FLSD Docket 04/10/2012 Page 7 of 18
                        Case 1:09-cr-01III-KM W Document41 Filed 12/17/10 Page 3 of6
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          DEFENDANT:             SALVADOR VILLANUEVA                                                  Iudgrntot- pagt    3
                                                                                                                        .-   pt'     6
          CASENUMBER: 09CR 1ll1-01(KMW )
                                      SUPERVISED RELEASE
          Upon releasefrom impri
                               sonment,thedefendantshallbe on supervised releascforaterm
          3years




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                                            to theprobationom ce inthedistrictto which thedefendantisreleasedw ithin 72 hoursot
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          Thc defcndantshallnotcommitanotherfederal,state,orlocalcrime.
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          C) Theabovedrugtestingconditionigsuspended,basedonthecourt'sdeterminationthattbedefendantposesalow riskot
                                                                                                                  -
             futuresubstanceabuse.(Check,ifapplicable.)
              Thedefendantshallnotpossessa sreann,ammunition,destructivedevice,orany otherdangerousweapon. (Check,ifapplicable.)
          !Z) ThedefendantshallcooperateinthecollectionofDNA asdirectedbytheprobationotxcer. (Check,ifapplicable.
                                                                                                                )
              Thedefendantshallregisterwith the state sex offenderregistration agency inthe state whcrethe defendantresides, works,orisa
              student,asdirected bythe probation om cer. (Check,ifapplicable.)
              Thcdefendantshallparticipate in an approved program fordomcsticviolence. (Check,if-applicable.)
          b       lfthisjudgmentimposesafinçorrestitution,itisaconditionofsupervisedreleasethatthedefkndantpayinaccorduncewith
          t e Schedule ofPaymentssheetofthisJudgment.
                   The defkndantmustcompl y with tbe standard conditionsthatIlave been adopted by thiscoul'
                                                                                                          taswellaswitl!any additional
          conditionsonthe attached pagc.

                                          STA ND AR D C O ND IT IO NS O F SUPE RV ISIO N
                thedefendantshallnotleavethejudicialdistrictwithoutthepennissionofthecoul'
                                                                                         torprobationom cer;
               thedefendantshallreportto theprobatfon oftkerand shallsubmitatruthfuland complete writlcn reportwithin thefirstt-   ivedays
               ofeach month;
               thedefendantshallanswertruthfully a11inquiriesby theprobation oftscerand follow theinstructionsofthe probation om cer;
               the defendantshallsupporthisorherdependentsand meetotherfamil     y responsibilities;
               the defendantshallwork regularly ata lawfuloccupati on,unlessexcused by the probation officerforschooling, training,orother
               acceptablereasons;
               the defendantshallnotif'
                                      y theprobation ofticeratleastten dayspriortoany changcin residenceoremployment;
               thedefendantshallrefrain from excessiye use ofalcoholand shallnotpurchase, possess,use,distributc.oradpinisterany
               controlledsubstanceorany paraphernallarclatcd to any controlled substances,exceptasprescribed by aphyslcian;
           8) thedefendantshallnotfrequcntplaceswberecontrolledsubstancesareillegallysold,uscd,distributed,oradministcred;
           9) thedefendantshallnotassociltewithanypcrsonsengagedincriminalactivityand shallnotassociatewi  thanypersonconvictedof
               a fclony,unlessgranted perm lssion to do so by the probation ofscer'
                                                                                  ,
               the defendantshallpennitaprqbation officerto visithim orheratany timeatbomeorelsewhereand shallpermitcontiscation of
               any contraband observed in plalnview ofthc probation officcr;
               thedefendantshallnotifytheprobationofficurwitbinseventy-twohoursof   -beingarrestedorquestionedbya1aw enforcementofficer;
               thedçfepdantshallnotenter into anyagreementto actasan informeroraspecialagentofa law entbrcementagency withoutthe
               permlsslon ofthecoul't;and
               asdirectedbytheRrobationofficer thrdefendantshallnotifythirdpartiesofrisksthatmaybeoccasionedbythedefendant'scrim i  nal
               rtcord,personalblstory,orcharackensticsandshallpermittheprobationomcertomakesucbnotificationsandconfirm the




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          Case 1:12-tp-20032-JEM Document 1 Entered on FLSD Docket 04/10/2012 Page 8 of 18
                        Case 1:09-cr-0111I-KMW Docum ent41 Filed 12/17/10 Page 4 of6
          AO 215C   (Rev.06/05)ArnendedJudgmelltinaCrimi
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                                                                                                                     thAsterisks(1))
          DEFENDANT:             SALVADOR VILLANUEVA                                       Judgmenl- pltge    4
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                                                                                                                      of     /;
          CASENUMBER:           09CR lll1-01(KMW)

                                            SPECIAL CONDITIO NS OF SUPERVISION
          Thestandardantlmandatory conditionsofsupervised rcleaseapply, alongwith thefollowing specialconditions:
          Thedefcndantshallprovidetheprobationofficerwithaccesstoany rcquestcd financial
          intbrmaticn
          ThedefendantshllIsubm ithisperjon,rcsidence,placcofbusiness, vvhicle.oranyotheqpremisesunderhiscontroltoa
          search,onthebaslsthattheprobatlonom cerhasrcasonablebeliefthatcontrabandoreyldenceqfaviolation ofthe
          conditionsofthereleasemaybefound.Thesearchlnus!beconductcdatareasoyabletlmeand lnarsasonablemanner
          Failuqetosubmittoi!searchmaybegroundsforrevocallgn.Thedcfcndantshalllnform anyotherrcsldentsthatthe .
          prem lsesInaybcsublectto search pursuanttothiscondltlon.
          Thedefendantshallobeythe immigrationlawsand comply withthedirectivesofimm igration authorities.
          Thedefendantislo reportto tlenearestProbationOftscewithin 72 hoursofreleasefrom custody.
          Thedefendantshallbesupervised bythedistrictofhisresidence.




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          Case 1:12-tp-20032-JEM Document 1 Entered on FLSD Docket 04/10/2012 Page 9 of 18
                        Case 1:09-cr-0111I-KM W Docum ent41 Filed 12/17/10 Page 5 of6
          AO 245C   (Rek.06/05)AmcndcdJudgmcnlinaCriminalCase
                    Siccl5- CriminalMonctaryPcnallics                                                              (NOTE:I
                                                                                                                         dcntifyChangrswilhAslerisks(*))
                                                                                                        .           V .-           . -   L-   ZU   L-       M   E
                                                                                                            Judgment- Page     5         or             6       .
          DEFENDANT:                  SALVADOR VILLANUEVA
          CASENUMBER:                 09CR lll1-01(KMW)
                                            CRIM INAL M ONETARY PENALTIES
              The defendantmus:pay thefollowing totalcriminalmonetary penaltiesundertheschedule ofpaymentson Sheet6.
                           Asstssment                               Fine                            Restitution
          '
          rO'rALs        ! l00.00                                       $                                      $

          Z Thedeterminationofrestitulionisdeferreduntil                .   AnAmendedludgmentt'
                                                                                              n(zCrinlinalCase(AO 24.
                                                                                                                    5C)wilIbe
              entered aftersuch determination.

          IZI Thedefendantshallmakerestitution(includingcommunityrestitution)tothcfollowingpayecsintheamcuntlistedbelow.
              I
              ifthedefendantmakesapal-   tialpaymentzeach payeeshallreceivean approximately proportioned paymentsunlessEpecil-
                                                                                                    .                        ied etherwije
              bnethepriorltygrderorpelcentpgepaymentcolumnbelow'.I'
                 foretheUnlted Stateslspatdt
                                                                    lowever,pursuantto18U.S.C.j3664(i),a)1nonfederalvlctimsmustbepald

          NameofPa#ee                            TotalLoss*                        Restituticn O rdered                      PrioritY or Percentaee




          TOTALS                        $                       $0.00          $                    $0.00

              Restitutionamountorderedpursuanttopleaagreement $

          (
          Z) Thedefendantmustpayinterestonrestitutionandalineofmorethan$2,500,unlesstherestitutionortineispaidinfullbeforcthe
              tifteenthdayafterthedateof-thcjudgment,pursuanttoI8U.S.C.j3612(9.A1lofthepaymentoptionsonSheet6maybesubject
              topenaltiesfordelinquencyanddefault,pursuantto 18U.S.C.j3612(g).
          (Z1 'rhecourtdeterminedthatthedefendantdoesnothavetheabilitytopayinterest,anditisorderedthat:
              Q theinterestrequirementiswaivedfor (
                                                  ZI tine               D rcstitution..
              EZ thcinterestrequirementfor         D tsne         I
                                                                  ZI restitutionismodifiedasfollows:

          *FindingsforthetotalamountoflcssesayerequiredunderChapters l09A,110,110A,and 1l3A ofTitle 18tbrof
                                                                                                          -
                                                                                                          fensescornm ittedon or
          afterSeptem ber 13,1994:butbeforeApnl23,1996.




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           Case 1:12-tp-20032-JEM Document 1 Entered on FLSD Docket 04/10/2012 Page 10 of 18
                         Case 1:09-cr-0111I-KM W Docum ent41 Filed 12/17/10 Page 6 of6
            AO 245C    (Rcv.06/05)AmendcdJkl
                                           dgmeptinaCriminalCasç
                       Shcel6- ScheduleofPaymcnts                                                            (NOTE:IdentifyChangvsw'
                                                                                                                                   ithM teri
                                                                                                                                           sks(#))
            DEFENDANT'.                                                                                   Judgmcnt- Pagc       6   --   of   6
                                    SALVADOR VILLANUEVA
            CASE NUMBER:            09 CR 1111-01(KM W )

                                                          SCH ED U LE O F PAY M EN TS
            Having assessed thedefendanl'sability to pay,paymentofthetotalcriminalmonetary penaltiesshallbe dueastbllows:
                      Lumpsum paym entof$ lû0.00                   ducimmediately, balance due
                      L notlaterthan                   ,or
                      Q inaccordancewith I
                                         ZI C) I
                                               Z D, C) E,or (Z1Fbelow;or
            B (Z) Paymenttobcgini
                                m mediately(maybecombinedwith                           !
                                                                                        Z)D, or :ZlFbelow);or
            C    E) Paymentinequal             (e.g.,weekly,monthly,quarterly)installmentsof $
                                                     -                                                        overaperiodor
                            (c.g..monthsoryears),tocommence               (e.g.,30or60days)afterthedateofthisjudgment;or
            D (
              Z) Paytnentinequal               (e.g.,weekly,monthly,quarterly)installmentsof$
                                                     -                                                     overaperiodol-
                            (e.g.,monthsoryears),to commence              (e,g..30or60days)afterreleasefrom imprisonmenttoa
                                                                                  -
                      term ofsupervision;or
            E         Paymentduringtheterm ofsupervisedreleasewillcomnwncewithin         (e.g..30or60days)afterrcleasetiom
                                                                                                   -
                      imprisonment,Thecourtwillsetthepaymentplanbasedonanassessmentofthedefendant'sability topayatthattime;or
            F   !
                Z) Specialinstmctionsregardingthepaymentofcriminalmonetarypenalties:




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           lnmateFl                                                   s
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                  nancialResponslbillty Program.aremade to theclerk oft
                                                                      he   ept
                                                                         cou t.those paym entsmade through the FederalBureau ofPrlsons'
                                                                            l'
           ThedefendantshallreceivecreditforaIlpaymcntspreviousl
                                                               y made toward anycriminalmonetary penaltiesimposed.




           Q JointandSeveral
                Defe
                con'
                    ndantqndCo-DefendantNpmesandCaseNumbers(includingdefendantnumber),Jointand SeveralAmount,and
                   espondlng payec,ifapproprlate.




           D 'rhcdefendantshallpaythecostofprosecution.
                Thtdefendantshallpaythetbllowingcourtcostts);
           I
           D Thedcfendantshallforfeitthedefendant'sinterestinthefollowingpropertytothe UnitedStates;


           Pa
           5)yf
           (  me
              inunpIntsehre
                          as
                           lt
                            lbcappliedinthefollowingorder:(1)pssessment,(2)reptitutignprincipal, (3)restitutioninterest,(4)fineprincipat
                             ,(
                              6)colnmunityrestitution,(7)penaltles,and(8)costs,Includlngcostofpr  osecutionandcourtcosts   .
           AO 245C    (Rtv.0b/05)AlnenlledJudgmentinaCrimi
                                                         nalCase
                      Shect6,
                            1-.
                              -SçheduleofPayl
                                            nents                                                           (NO1'
                                                                                                                R:l
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10 of 18
           Case 1:12-tp-20032-JEM Document 1 Entered on FLSD Docket 04/10/2012 CLO
                                                                                Page
                                                                                   SED11,ECF,
                                                                                         of 18PRIOR

                                          U .S.D istrict Court
                             SouthernDistrictofNew York (Foley Square)
               CR IM IN A L D O CK ET FO R C ASE #:1:09-cr-01111-K M W A IID efendants


Casetitle:USA v.Villanueva                                    DateFiled:11/17/2009
M agistratejudgecasenumber:1:09-mj-02433-UA                   DateTerm inated:12/01/2010

Assigned to:Judge Kim baM .W ood

Defendant(1)
Salvador V illanueva                            represented by Philip L W einstein
TERM INA TED:12/01/2010                                          FederalDefendersofNew Yorklnc.(NYC)
                                                              52 D uane Street
                                                              10th Floor
                                                              N ew Y ork,N Y 10007
                                                              212-417-8700
                                                              Fax:212-571-0392
                                                              Email:philip weinstein@ fd.org
                                                              LEAD /1TTOLNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Designation.PublicDefenderorCommunity
                                                              DefenderAppointment
                                                              Sabrina P.Shroff
                                                              FederalDefendersofNew YorkInc.(NYC)
                                                              52 D uane Street
                                                              10th Floor
                                                              New York,NY 10007
                                                              (212)417-8713
                                                              Fax:(212)571-0392
                                                              Email:sabrina shroff@fd.org
                                                              ATTORNEY rö BE xorzcfo
Pending Counts                                                D isposition
21:841B=N D .F N AR COTICS - SELL,
D ISTRIBU TE,O R D ISPEN SE                                   lmprisonm ent:1yearand 1day.Supervised
                                                              Release:3 years.
(1)

HiehestOffense Level(O penine)
Felony

Term inated Counts                                            Disposition
None

HiahestO ffenseLevel(Term inated)
None


11 of 18
      Case
       nts 1:12-tp-20032-JEM Document 1 Entered on FLSDDi
Com plai                                                Docket 04/10/2012 Page 12 of 18
                                                         sposition
21:846:CONSPlRACY TO DISTRIBUTE
CöNTROLLED SUBSTANCE.


Plaintiff
U SA                                                represented by A im ee H ector
                                                                   U.S.Attorney'sOffice,SDNY (StAndw's)
                                                                   One St.Andrew'sPlaza
                                                                   N ew York,N Y 10007
                                                                   (212)637-2203
                                                                   Fax:(212)637-2937
                                                                   Email:aimee.hector@usdoj.gov
                                                                   fEA D ,4TTORNE Y
                                                                   W TTORNE Y TO BE N O TICED

                                                                   M ichelle K atherine Parikh
                                                                   U nited States Attorney O ffice,SD N Y
                                                                   One SaintAndrew'sPlaza
                                                                   N ew York,N Y 10007
                                                                   (212)637-1071
                                                                   Fax:(212)637-2527
                                                                   Email:michelle.parikh@usdoj.gov
                                                                   fEAD adTTO RNE r
                                                                   dTTORN E F TO BE N O TICED
                                                                   a




Date Filed    #      D ocketText
11/02/2009          ArrestofSalvadorVillanueva.(gq)g1:09-mj-02433-UA1(Entered:11/04/2009)
11/03/2009        1 COMPLAINT astoSalvadorVillanueva(l)sAnniaTamayo(2),OrlandoFuentes(3)in
                    violationof21U.S.C.846.(SignedbyM agistrateJudgeTheodoreH.Katz)(gq)(1:09-mj-
                    02433-17A)(Entered:11/04/2009)
11/03/2009        2 CJA 23FinancialAffdavitby SalvadorVillanueva.(Signedby JudgeM agistrateJudge
                    TheodoreH.Katz)(gq)g1:09-mj-02433-UA1(Entered:11/04/2009)
11/03/2009        5 ORDER A PPOINTING FEDERAL PUBLIC DEFEN DER asto SalvadorVillanueva.Philip
                     L W einsteinforSalvadorVillanuevaappointed.(Signedby M agistrateJudgeTheodoreH.
                     Katzon 11/03/2009)(gq)(1:09-mj-02433-UA1(Entered:11/04/2009)
11/03/2009        6 N OTICE OF ATTORNEY APPEARANCE:Philip L W einstein appeming forSalvador
                     Villanueva.(gq)(1:09-mj-02433-UA)(Entered:11/04/2009)
11/03/2009          M inuteEntry forproceedingsheldbeforeM agistrateJudge TheodoreH.Katz:lnitial
                    A ppearance asto SalvadorV illanueva held on 11/3/2009.D eftappearsw ith FederalDefender
                    atty Philip W einstein.A U SA A im ee H ectorpresentforthe gov't.Spanish interpreterpresent.
                     PretrialReportwaived.Detentiononconsentwithoutprejudice.(PreliminaryExamination
                     setfor12/2/2009at10:00AM beforeJudgeUnassigned.)(gq)(1:09-mj-02433-UA1(Entered:
                     11/04/2009)
 11/17/2009   1 INDICTMENT FILED asto SalvadorVillanueva(1)countts)1.j'm)(Entered:11/18/2009)
              .



 11/17/2009     CaseDesignatedECFastoSalvadorVillanueva.(jm)(Entered:11/18/2009)
11/19/2009           M inute Entry forproceedingsheld before Judge D enise L.Cote:A rraignm entasto Salvador
12 of 18
           Case 1:12-tp-20032-JEM Document 1 Entered on FLSD Docket 04/10/2012 Page 13 of 18
                         Villanueva(1)Count1heldon 11/19/2009.Defendantpresentw/attorney Peggy Crossfor
           '
                         PhilW einstein.AUSA Aim eeHectorpresent.CourtreporterpresentKristen Carranante
                         present.Arraignm entheld.Defendantpleadsnotguilty ascharged in 09-Cr-1111,All
                         discovery,exceptforthe computerinformation,shallbecompleted by Decem ber4,2009.
                         The discovery ofthecom puterinformation shallbedoneby December 18.Any defense
                         m otionsshallbe dueFebruary 26,2010;Govelmment'sopposition dueM arch 5,2010.Trial
                         date setforA pril5,2010.Tim e excluded from 11/19/2009 until4/5/2010 pursuantto 18 USC
                         Section 3161(h)(7)(A).Detentioncontinued.(bw)(Entered:11/20/2009)
11/19/2009               M inuteEntry forproceedingsheld before JudgeDeniseL.Cote:Pleaentered by Salvador
                         Villanueva(1)Count1--NotGuilty.(bw)(Entered:11/20/2009)
11/19/2009               ORAL ORDER asto SalvadorVillanueva.Timeexcluded from 11/19/2009until4/5/2010.
                         Discovery(exceptforthecomputerinformation)dueby 12/4/2009;Brief(Discoveryofthe
                         computerinformation)dueby 12/18/2009.M otions(bydeh)dueby2/26/2010;Responses
                         (byGovt)dueby3/5/2010.ReadyforTrialby4/5/2010.(bw)(Entered:11/20/2009)
12/14/2009            8 TRANSCRIPT ofProceedingsasto SalvadorVillanuevaheld on 11/3/2009 beforeM agistrate
                      JudgeTheodoreH.Katz.(dnd)(Entered:12/14/2009)
01/21/2010         !2 NOTICE OF ATTORNEY APPEARANCE:SabrinaP.ShroffappearingforSalvador
                      Villanueva.(Shroff,Sabrina)(Entered:01/21/2010)
01/21/2010       J.JZ ENDORSED LETTER:Asto SalvadorVillanuevaaddressedtoJudgeDeniseL.Cotefrom
                         Sabrina P.Shroffdated 1/20/2010.re:Defensecounselwriteson consentto requesta
                         modification ofM r.Villanueva'sbail.FollowinghisNovem ber3,2009 presentment,M r.
                         Villanuevawasdetained;however,given the changed circumstancesofhiscase,AUSA
                         Hectorconsentsto hisreleaseon the following conditions...ENDORSEM ENT:SO
                         ORDERED.(SignedbyJudgeDeniseL.Coteon 1/20/2010)(dnd)(Entered:01/21/2010)
01/21/2010           11 AppearanceBond Entered asto SalvadorVillanuevain amountof$ $150,000.00;co-signed
                         by 2 FRP's;travelrestricted to theDistrictofFloridaand theSouthern DistrictofNew York,
                         and allpointsin between fortravel;surrenderalltraveldocum entsand no new applications;
                      strictpretrialsupervisionwith drugtesting.(dnd)(Entered:01/29/2010)
01/22/2010         12 ADVICE OF PENALTIESAND SANCTIONS astoSalvadorVillanueva.(dnd)(Entered:
                      01/29/2010)
02/23/2010       .1J- ORDER astoSalvadorVillanueva(PretrialConferencesetfor3/26/2010at02:00PM in
                      Courtroom 11B,500PearlStreet,New York,NY 10007beforeJudgeDeniseL.Cote.)1T IS
                         HEREBY ORDERED thatany written VoirDire requests,Requeststo ChargeorTrial
                         M emorandum,shallbefled by noon on M arch 25,2010.Two courtesy copiesshallbe
                         delivered to Cham berson the sameday.IT IS FURTHER ORDERED thatthefinalpretrial
                         conference isscheduled forM arch 26 at2 p.m .in Courtroom 11B,500 PearlStreet.The
                         Court'slndividualRulesofTrialPracticein CriminalCasesareenclosed,(SignedbyJudge
                         DeniseL.Coteon2/23/2010)t'w)(Entered:02/23/2010)
03/01/2010       J-1 M OTION to SuppressNoticeofM otion.Documentfiledby SalvadorVillanueva.(Shroff,
                 .

                     Sabrina)(Entered:03/01/2010)
03/01/2010       1J. FILING ERROR -W RONG EVENT TYPE SELECTED FROM M ENU (Memorandum of
                     Law in Support)-M OTION to SuppressM emorandum ofLJw.DocumentfiledbySalvador
                     Villanueva.(Attachments:#lAffidavitAttorneyAffirmation,#2AffidavitVillanueva
                     Affidavitltshroff,Sabrina)Modifiedon 3/2/2010(iar).(Entered:03/01/2010)
03/01/2010              N O TE TO A TTORN EY TO RE-FILE D OCU M EN T -D O CU M EN T TYPE ERRO R .N ote to
                         Attorney SabrinaShroffastoSalvadorVillanueva:toRE-FILE DocumentJJ.MOTION to
                         SuppressMemorandum ofLJw.UsethedocumenttypesM emorandum inSupportand
                         Declarationin Support(eachdeclarationtobefledseparately)foundunderthedocumentlist
13 of 18
           Case 1:12-tp-20032-JEM Document 1 Entered on FLSD Docket 04/10/2012 Page 14 of 18
                         Replies,Oppositions,Supporting Documents.NOTE:Each supporting docum entmustbe
           '
                     filedseparately.U'arl(Entered:03/02/2010)
03/08/2010       J-i M EM ORANDUM inOppositionby USA astoSalvadorVillanuevare.1      ,
                                                                                     .4M OTION to
                     SuppressNoticeofM otion..tparikh,M ichelle)(Entered:03/08/2010)
03/09/2010        12 ORDER asto SalvadorVillanueva.ORDERED thata hearing on defendant'
                 ...                                                                 sm otion to
                         sujpressisscheduledfor9:30a.m.onMarch 17,2010inCourtroom 11B,500PearlStreet.
                     (SlgnedbyJudgeDeniseL.Coteon 3/9/2010)(bw)(Entered:03/09/2010)
03/09/2010       13. TRANSPORTATION ORDER asto SalvadorVillanueva....itisORDERED thattheUnited
                         StatesM arshalsService fum ish M r.Villanuevawith fundsto coverthecostofairfareand
                         ground transportation between M iami,FloridaandNew York,fora courtappearance in the
                         U nited States D istrictCourt,Southern D istrictofNew York2aniving in N ew Y ork on M arch
                         15,2010 and returning to Floridaon M arch 18,2010 followlng hisM arch 17,2010,court
                         appearance;and itishereby furtherORDERED thattheaforesaid expensesshallbepaid by
                      theUnited StatesMarshalsService.SO ORDERED:(SignedbyJudgeDeniseL,Coteon
                      3/9/2010)(bw)(Entered:03/09/2010)
03/09/2010       J-62
                    . NOTICE OF ATTORNEY APPEARANCE MichelleKatherineParikhappearingforUSA.
                      (Parikh,Michelle)(Entered:03/09/2010)
03/18/2010       1(1 NOTICE OF CASE REASSIGNM ENT astoSalvadorVillanueva,toJudgeKimbaM .W ood.
                     JudgeDeniseL.Cotenolongerassignedtothecase.(1di)(Entered:03/19/2010)
03/22/2010               M inute Entry forproceedingsheldbeforeJudgeKim baM .W ood:PretrialConference asto
                         SalvadorVillanuevaheld on 3/22/2010.Attorney Sabrina Shroffispresentforherclient,
                         SalvadorVillanueva,appearancewaived.AU SA M ichelleParikh ispresent.Courtreporter
                         Jeny Hanisonispresent.Conferenceisheld(seetranscript).Thenextconferencewillbeheld
                         onFriday,M arch26,2010at10:30am.TimeisexcludedthroughM arch26,2010.(bw)
                         (Entered:03/24/2010)
03/22/2010               ORAL ORDER asto SalvadorVillanueva.Tim eexcluded from 3/22/2010 until3/26/2010.
                     PretrialConferencesetfor3/26/2010at10:30AM beforeJudgeKimbaM .W ood.(bw)
                     (Entered:03/24/2010)
03/25/2010       21. ENDORSED LETTER astoSalvadorVillanuevaaddressedtoJudgeW oodfrom AUSA
                 .

                         M ichelle K.Parikh dated M arch 24,2010 re:Thepartieshaveconferred,and M ay 24,2010 is
                         the datem ostconvenientfora11parties.The partieswould therefore askthatthe Courtseta
                         trialdateofM ay 24,2010 in thism atterand cancelthepretrialconference currently
                         scheduled forM arch 26,2010.EN DO RSEM EN T:Granted.JointV oirD ire and Requestto
                         Chargearedueto the Courtby M ay 17,2010.Thepartiesshallfollow thisCourt'sindividual
                         rulesregardingthesubmissionofVoirDireandRequesttoCharge.SoOrdered:(Signedby
                         JudgeKimbaM .W oodon3/25/2010)(bw)(Entered:03/25/2010)
03/25/2010               Term inateDeadlinesand Hearingsasto SalvadorVillanueva:Term inated PretrialConference
                     setfor3/26/2010at10:30AM beforeJudgeKimbaM .W ood,(bw)(Entered:03/25/2010)
03/25/2010       2.
                  2. OIID ER asto SalvadorVillanueva.Itishereby ORDERED thatthe tim ebetween M arch 26,
                         2010 and M ay 24,2010,ishereby excluded underthe Speedy TrialAct,18U .S.C.Section
                     3161(h)(7)(A).SoOrdered.(SignedbyJudgeKimbaM .W oodon 3/25/2010)(bw)(Entered:
                     03/25/2010)
04/06/2010       2J- ORDER astoSalvadorVillanueva....itisherebyORDERED thatthetimebetweenM arch
                         26,2010 and M ay 24,2010,ishereby excluded underthe Speedy TrialA ct,18 U .S.C.
                         Section3161(h)(7)(A).So Ordered.(SignedbyJudgeKimbaM .W oodon3/25/2010)(bw)
                         (Entered:04/06/2010)
04/14/2010           24 TR AN SCRIPT ofProceedingsasto SalvadorV illanueva held on 3/22/2010 before Judge
14 of 18
           Case 1:12-tp-20032-JEM Document 1 Entered on FLSD Docket 04/10/2012 Page 15 of 18
                         KimbaM .W ood.(jfe)(Entered:04/16/2010)
04/26/2010           25 TRANSCRIPT ofProceedingsasto SalvadorVillanueva held on 3/17/2010 beforeJudge
                         GeorgeB.Daniels.(fe)(Entered:04/26/2010)
05/10/2010       l(i TRANSPORTATION ORDER astoSalvadorVillanueva....itisORDERED thattheUnited
                         StatesM arshalsServicefurnish M r.Villanueva with fundsto coverthe costofairfareand
                         ground transportation between M iam i,Florida and New York,N ew York foracourt
                         appearancein theUnited StatesDistrictCourt,Southern DistrictofN ew York,arriving in
                         New York on M ay 11,2010 and retum ing toFloridathesam eday followinghisM ay 11,
                         2010,courtappearanceat9:00 AM ;and itishereby furtherORDERED thattheaforesaid
                    expensesshallbepaidbytheUnitedStatesM arshalsService.SO ORDERED:(Signedby
                    JudgeKimbaM .W oodon5/7/2010)(bw)(Entered:05/10/2010)
05/11/2010       2.
                 .2 SENTENCE SCHEDULING ORDER:Asto SalvadorVillanueva.TheDefendantis
                         scheduled to be sentenced on August10,2010 at11:00 a.m .ThePresentencelnvestigation
                         Reportisdueto theCourton July 27,2010.Any sentencing submissionsby Defendantmust
                         bem adeby August2,2010,and muststatespecifically whetherDefendantcontestsany fact
                         in the Presentence Report,and w hether Defendantconteststhe appropriateness ofthe
                         Probation Officer'sSentencing Recom mendation.Defensecounselmustarrange forthe
                         presentence interview to occurwithin 14 daysofthe defendant'sguilty plea.TheGovernment
                         m ustsubm ita statem entoffactsto Probation w ithin 14 daysofthe defendant's guilty plea.
                         Probation should contactChambersifthey experience difficulty scheduling thepresentence
                         interview orifthePSR willnotbecom pleted in atim ely fashion.Any responseorother
                         submissionfrom theGovernmentisdueAugust6,2010.SO ORDERED.(SignedbyJudge
                         KimbaM .W oodon5/11/2010)(dnd)(Entered:05/11/2010)
05/11/2010               Asto SalvadorVillanueva Sentencing setfor8/10/2010 at11:00 AM before JudgeKimba M .
                         W ood.(Signed by JudgeKimbaM .W oodon 5/11/2010)(dnd)(Entered:05/11/2010)
05/11/2010               M inuteEntry forproceedingsheld beforeM agistrate JudgeAndrew J.Peck:Change ofPlea
                         Hearing asto SalvadorVillanuevaheld on 5/11/2010.Defendantpresentwith attorney M s.
                         Shroff.A.U.S.A .M s.Parikh present.Courtreporterpresent.Spanish lnterpreterpresent.
                         Defendantwithdrawspleaofnotguilty and entersapleaofGuilty to Counts//1.M agistrate
                         JudgeAndrew J.Peckrecomm endsthatJudge W ood acceptthe guilty plea.Sentencedate set
                         forAugust11,2010.PSIOrdered.BailContinued.(bw)(Entered:05/14/2010)
05/11/2010               ChangeofNotGuiltyPleato GuiltyPleaasto SalvadorVillanueva(1)Count1.(bw)
                         (Entered:05/14/2010)
05/11/2010               M inuteEntry forproceedingsheld beforeM agistrateJudgeAndrew J.Peck:Plea enteredby
                         SalvadorVillanueva(1)GuiltyastoCount1.(bw)(Entered:05/14/2010)
05/11/2010               OrderofReferralto Probation forPresentence lnvestigation and Reportasto Salvador
                    Villanueva.(JudgeAndrew J,Peck,U.S.M .J.)(bw)(Entered:05/14/2010)
05/11/2010       lî CONSENT TO PROCEED BEFORE US MAGISTM TE JUDGE ON A FELONY PLEA
                    ALLOCUTION by SalvadorVillanueva.(a)(Entered:05/21/2010)
06/08/2010           29 TR AN SCRIPT ofProceedingsasto SalvadorV illanueva held on 5/11/2010 before M agistratc
                     JudgeAndrew J.Peck.(ab)(Entered:06/09/2010)
07/26/2010       211 ORDER:Asto SalvadorVillanueva.Dueto a contlictwith theCourt'scalendar,the
                         sentencing forthe above-captioned defendant,currently scheduled for August10,is
                       adjournedtoAugust31,2010at10:30a,m.Defendant'ssubmission isduetotheCourtby
                       August17.AnyGovemmentresponseisdueAugust24.SO ORDERED.(Signedby Judge
                       KimbaM .W oodon 7/26/2010)(dnd)(Entered:07/26/2010)
08/03/2010       1
                 J..l. ORDER astoSalvadorVillanueva.TheCourtherebyamendstheschedulesetinits
                 .



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           Case 1:12-tp-20032-JEM
                        7/26/2010 OrdeDocument   1 sha
                                      r:Sentencing  Entered on
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                                                                       2010 at04/10/2012  Page
                                                                              11:00 AM befor    16 Ki
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                                                                                                      18baM .
           .              W ood.Defendant'ssubm ission isdueto the Courtby 9/2/2010.Any Governmentresponse is
                      due9/9/2010.SO ORDERED.(SignedbyJudgeKimbaM .W oodon8/3/2010)(ab)(Entered:
                      08/03/2010)
08/24/2010        1k2 ENDORSED LETTER astoSalvadorVillanueva,addressedtoJudgeW ood,from SabrinaP.
                  .

                          Shroff,atty fordft,dated 8/24/2010!re:dft'scurrentsentencing dateis9/16/2010 -asking the
                          Courttoreschedulesentencing hearlng som etime in m id-octoberorany day convenientto the
                          Court.--Judgeendorsed:SentencingisadjournedtoW ednesday,October20,2010at10:30
                          a.m .;dh'ssubmission isdueby October6;and Govt'ssubmission isdueby October13.SO
                      ORDERED.(Sentencingsetfor10/20/2010at10:30AM beforeJudgeKimbaM .W ood.)
                      (SignedbyJudgeKimbaM .W oodon 8/24/2010)(a)(Entered:08/24/2010)
10/06/2010        2.
                   :
                   .
                   I. ENDORSED LETTER astoSalvadorVillmmeva,addressedtoJudgeW ood,from SabrinaP.
                          Shroff,atty forSteven M .Statsinger,atty fordft,dated 10/4/2010,re:requesta four-week
                          adjournmentofM r.Villanueva'ssentencinghearing,currentlyscheduledfor10/20/2010.--
                          Judgeendorsed:SentencingisadjournedtoW ednesday,November17,2010at11a.m.Dft's
                          submission isdueby November3.Governmentresponseisdue by Novem ber10,SO
                       ORDERED.(Briefdueby 11/3/2010.Responsesdueby 11/10/2010.Sentencingsetfor
                       11/17/2010at11:00AM beforeJudgeKimbaM .W ood.)(SignedbyJudgeKimbaM .W ood
                       on 10/5/2010)(ja)(Entered:10/06/2010)
11/04/2010        J--1 ENDORSED LETTER:Asto SalvadorVillanuevaaddressedtoJudgeKimbaW oodfrom
                          Sabrina P.Shroffdated 11/3/2010.W ith theconsentofAUSA Parikh,lm iteto requesta
                          one-day extension tothedue dateforthedefendant'ssentencing submission.AsM r.
                          Villanueva'ssentencing isscheduled forNovember17,2010,thedefense'ssentencing
                          submission iscurrently dueon November3,2010.lfthe Courtwereto grantthisextension,
                          the defense'ssubm ission would bedue on November4,2010.EN DORSEM ENT:Request
                          Granted.ThesentencingsubmissionshallbeduenolaterthanNovember4,2010.(Signedby
                          JudgeKimbaM .W oodon 11/3/2010)(dnd)(Entered:11/04/2010)
11/04/2010            38 Letterby SalvadorVillanueva addressed to JudgeKim baM .W ood from Sabrina P.Slzroff
                      dated 11/4/2010re:Counselwritestosubmitthedefendant'ssentencingsubmissions.(ab)
                      (Entered:12/07/2010)
11/08/2010        àj. ENDORSED LETTER:Asto SalvadorVillanueva,addressed to Judge Kimba W ood from
                  .

                          Sabrina P.Sllroffdated 11/4/2010 re:Defensecounselwritesto requestaone day extension
                          oftim eto fileitssentencing subm ission forthe defendant.Ifthecourtgrantsthisextension,
                          the defense subm issionswould be dueon Novem ber5,2010,and the Government'sletterdue
                          onNovember12,2010.ENDORSEM ENT:Granted.(SignedbyJudgeKimbaM .W oodon
                          11/5/2010)(dnd)(Entered:11/08/2010)
11/10/2010            39 Letterby SalvadorVillanuevaaddressed to JudgeKim baM .W ood from M ichelle Parikh
                         Brown dated 11/10/2010re:Counselwritesto subm itthatthedefendantshould be sentenced
                          toaterm ofimprisonmentwithintheGuidelinesranger30to 37monthsimprisonment.(ab)
                          (Entered:12/08/2010)
11/15/2010            40 Letterby SalvadorVillanuevaaddressedto JudgeKim baM .W ood from SabrinaP.Shroff
                         dated 11/15/2010 re:Counselw ritesto subm itthis letter in response to the govem m ent's
                      sentencingsubmissionof11/10/2010.(ab)(Entered:12/08/2010)
11/16/2010        J.i TRANSPORTATION ORDER astoSalvadorVillanuevare...fumishingM r.Villanuevawith
                          fundsto coverairfareand groundtransportation,between M iami,FloridaandNew York,
                          New York fora courtappearance...ORDERED thattheaforesaid expensesshallbepaid by
                          theU.S.M arshalsService.SO ORDERED,(SignedbyJudgeKimbaM ,W oodon
                          11/16/2010)t'a)(Entered:11/16/2010)
11/18/2010                M inute Entry forproceedingsheld before Judge K im ba M .W ood:Sentencing held on
                          11/18/2010forSalvadorVillanueva(1)Count1.DefendantSalvadorVillanuevaispresent
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           Case 1:12-tp-20032-JEM
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                        Elena Rich ispresent.Courtreporterispresent.Thedefendantissentencedto oneyearand
                        oneday im prisonm ent.Thedefendantshallbe on supervised release for3 years.The Court
                        imposesnofine.Thespecialassessmentof$100isdueimmediately.Thestandardand
                        m andatory conditionsofsupervised release apply,along with thefollowing special
                        conditions:Thedefendantshallobey the imm igration lawsand com ply with thedirectivesof
                        im migration authorities.The defendantshallprovidetheprobation officerwith accessto any
                        requested financialinformation.Thedefendantshallsubmithisperson,residence,place of
                        business,vehicle,orany otherprem isesunderhiscontrolto asearch,on thebasisthatthe
                        probation oflscerhasreasonablebeliefthatcontraband orevidenceofaviolation ofthe
                        conditionsofthe releasem ay befound.Thesearch mustbe conducted atareasonabletim e
                        andin areasonable manner.Failureto submitto asearch may begroundsforrevocation,The
                        defendantshallinform anyotherresidentsthatthepremisesmay besubjecttosearchpursuant
                         to thiscondition.Thedefendantisto reporttothenearestProbation Officewithin 72 hoursof
                         releasefrom custody.Thedefendantshallbe supervised by thedistrictofhisresidence.The
                         Courtmakesthefollowing changesto thePSR:Thedefendantreceivesa two pointsafety
                         valve reliefreduction.Thedefendantreceivesatwopointreduction for''minorrole''.This
                         resultsin aTotalOffense Levelof15,with a GuidelineRangeof 18to 24 months.The
                         defendantshallvoluntarily surrenderto the facility designated to him by theBureau of
                         Prisonsby 12:00p.m .on February 21,2011.TheCourtrecom mendstotheBureau ofPrisons
                         thatthedefendantbeincarcerated atFClM iami,so thathisfamily may visithim .The
                         defendant'sappealrightsareread,(ab)(Entered:11/24/2010)
   12/01/2010       E
                    .    FILED JUDGM ENT IN A CRIM INAL CASE astoSalvadorVillanueva(1).Thedefendant
                         SalvadorVillanuevapleadedguiltytoCountts)1,lmprisonment:1yearand 1day.TheCourt
                         recomm endsto theBureau ofPrisonsthatthe defendantbe incarcerated atFCIM iami,so that
                         hisfamily may visithim .Thedefendantshallsurrenderforserviceofsentenceatthe
                         institutiondesignated by the Bureau ofPrisonsbefore 12 p.m .Supervised Release:3years.
                         SA:$100.00.(Signedby JudgeKimbaM .W oodon 12/1/2010)(a)(Entered:12/01/2010)
   12/01/2010            Judgmententeredinmoneyjudgmentbook as#10,2222astoSalvadorVillanuevainthe
                         amountof$ l00,re:.
                                          1!Judgment.(m1)(Entered:12/21/2010)
   12/17/2010        /.
                      1 AMENDED JUDGM ENT IN A CRIMINAL CASE:Asto SalvadorVillanueva(1),Count1,
                          DateofOriginalJudgm entNovember18,2010.Reason forAm endm ent:Correction of
                          SentenceforClericalM istake(Fed.R.Crim.P.36).*#Thedefendantshallsurrenderfor
                          serviceofsentence attheinstitution designated by theBureau ofPrisonsbeforenoon on
                          February21,2011*#(SignedbyJudgeKimbaM .W oodon 11/18/2010)(dnd)(Entered:
                          12/17/2010)
    12/20/2010       42 TRANSCRIPT ofProceedingsasto SalvadorVillanueva heldon 11/18/2010 beforeJudge
                          KimbaM .W ood.(1nl)(Entered:12/20/2010)
    08/08/2011            PaymentofSpecialA ssessm entfrom SalvadorVillanueva inthe amountof$25.00.Date
                          Received:8/8/11.(mn)(Entered:08/08/2011)
     08/29/2011           Paym entofSpecialAssessm entfrom SalvadorVillanuevain the amountof$75.00.Date
                         Received:8/29/11.(mn)(Entered:08/29/2011)
     03/05/2012      #J. PROBATION FORM PETITION astoSalvadorVillanueva.PetitioningtheCourt:Court
                         Direction.TheCourtOrders:TransferofJurisdictionApproved.(SignedbyJudgeKimbaM .
                         W ood on3/5/2012)(dnd)(Entered:03/05/2012)


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